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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

SUZETTE GRILLOT,                                )
                                                )
              Plaintiff,                        )
                                                )
v.                                              )      Case No. CIV-19-0241-J
                                                )
STATE OF OKLAHOMA ex rel.,                      )
UNIVERSITY OF OKLAHOMA BOARD                    )
OF REGENTS, et al.                              )
                                                )
              Defendants.                       )

                                            ORDER

       Before the Court is the parties’ joint motion for extension of their existing pre-trial

deadlines [Doc. No. 43]. For good cause shown, the motion is GRANTED IN PART AND

DENIED IN PART. The motion is granted to the extent that the parties seek relief from the current

scheduling order. It is denied as to their requested dates. The Court instead STRIKES the current

scheduling order and will enter an amended scheduling order after the Court holds a status and

scheduling conference with the parties.

       IT IS SO ORDERED this 20th day of April, 2020.
